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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

x
ANGELA DIELE, Docket No.:1:23:cv:04841
Plaintiff,
-against-
THE CEDARWOOD COMPANIES INC.,
Defendant.
x

PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO ORDER
TO SHOW CAUSE TO TRANSFER VENUE OR DISMISS ACTION

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Plaintiff ANGELA DIELE (‘Plaintiff’), by her undersigned counsel, respectfully,
submits, this Memorandum of Law in Opposition to the Order to Show Cause filed by the
Court to transfer this action to Pennsylvania or Ohio or in the alternative dismiss this action
pursuant to 28 U.S.C. 1406(a).

PRELIMINARY STATEMENT

The Complaint in this action sets forth a single claim of negligence against Defendant
THE CEDARWOOD COMPANIES INC., an Ohio Corporation which manages commercial
properties throughout the United States including the property in Pennsylvania, where the
accident occurred. The Plaintiff, a New York resident, was injured while at the property in
Pennsylvania, and aside from her initial treatment, received all follow up care, including
surgery in her home state of New York.

As will be shown, venue is proper under 28 U.S.C. §1391(b)(1) because the Defendant
resides in New York as a result of its operation and management of New York retail stores on
behalf of Advance Auto Parts and Walmart Inc. Additionally, as Defendant is subject to
personal jurisdiction, venue is also appropriate under 28 U.S.C. § 1391(c).

STATEMENT OF FACTS

The following statement of relevant facts is based on the Complaint and on documents
which this Court may take judicial notice.
1. On or about September 30, 2021, Plaintiff, Angela Diele, a resident of Brooklyn, New
York, was injured a parking lot in East Stroudsburg, Pennsylvania.
2. The parking lot where the accident occurred was managed by Defendant, THE
CEDARWOOD COMPANIES INC., a national real estate development company and
property management company which leases and manages retail storefronts and parking lots

throughout the United States, including areas in New York.
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3. While THE CEDARWOOD COMPANIES INC is a foreign business corporation duly
incorporated pursuant to the laws of Ohio, with a principal place of business in Ohio. Upon
information and belief, defendant THE CEDARWOOD COMPANIES INC. manages two
storefronts in New York on behalf of Advance Auto Parts and four locations on behalf of
Walmart Inc.
4. As a result of the accident, the Plaintiff suffered an ankle fracture which required
surgery which was performed at Maimonides Medical Center in Brooklyn, New York on
October 8, 2021, a few days after the accident.
5. As a result of the injury, Plaintiff came under the care of Dr. Orry Erez of Maimonides
Bone and Joint Center, located at 6010 Bay Parkway, Brooklyn, NY 11204.

ARGUMENT

I. THIS ACTION SHOULD NOT BE TRANSFERRED OR DISMISSED
UNDER 28 U.S.C. 1406(a).

A. Defendant is Subject to Personal Jurisdiction in New York

The defendant is subject to personal jurisdiction in New York. Its activities within the State

are sufficient to justifv exercise of jurisdiction.

It is well settled that personal jurisdiction in diversity actions depends on the law of
the state in which the district court sits. United States v. First Nat’l City Bank, 379 US 378,
85 SCt 528, 13 Led2d 365 (1965); Arrowsmith v. United Press International, 320 F2d 219,
223 (2d Cir. 1963) (en banc). The showing that a plaintiff must make in order to defeat a
defendant’s claim contesting jurisdiction varies depending on the procedural posture of the
litigation. Bail v. Metallurgie Hoboken-Overpelt, S.A., 902 F2d 194, 197 (2d Cir 1989),
cert. denied, 498 U.S. 854 (1990). Prior to discovery, plaintiff need only plead in good faith
legally sufficient allegations of jurisdiction. Jd. When the district court does not hold a
hearing or trial on the merits, all pleadings and affidavits must be construed in the light most

favorable to the Plaintiff, and all doubts are to be resolved in the plaintiff's favor. Landoil

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Resources Corp. v. Alexander & Alexander Services, Inc., 918 F2d 1039, 1043 (2d Cir

1990).

The defendant is subject to New York personal jurisdiction under two separate New
York statutes. The first, CPLR § 301, provides that “[a] court may exercise such jurisdiction
over persons, property, or status as might have been exercised heretofore.” The New York
courts have construed § 301 as preserving earlier New York case law holding that a foreign
corporation is “doing business” and therefore present and subject to jurisdiction in New
York with respect to any cause of action, related or unrelated to its New York contacts, if it
does business in New York “not occasionally or casually, but with a fair measure of
permanence and continuity.” Tauza v. Susquehanna Coal Co., 220 NY 259, 115 N.E. 915
(1917); see also Laufer v. Ostrow, 55 NY2d 305, 434 N.E.2d 692, 449 N.Y.S.2d 456 (1982);
Ball v. Metallurgie, supra, 902 F2d at 197; Simonson v. International Bank, 14 NY2d 281,

200 N.E.2d 427, 251 N.Y.S.2d 433 (1964).

New York courts have characterized the “doing business” test as a “simple pragmatic
one” and have focused on a variety of factors in making the determination. Bryant v.
Finnish Nat'l Airline, 15 NY2d 426, 208 N.E.2d 439, 260 N.Y.S.2d 625 (1965). Among the
factors considered by the courts are the existence of an office in New York, the solicitation
of business in the state, the presence of bank accounts and other property in the state, and the
presence of employees or agents in the state. Hoffritz for Cutlery, Inc. v. Amajac, Ltd., 763
F2d 55, 58 (2d Cir 1985). In addition, the courts consider whether the corporation is
licensed or authorized to do business in New York, and whether it has a New York
telephone listing or mailing address. Oostdyk v. British Air Tours, Ltd., 424 FSupp 807,
813-4 (SDNY 1976). “The Court must...analyze a defendant’s connections to the forum

state ‘not for the sake of contact-counting, but rather for whether such contacts show a
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continuous, permanent and substantial activity in New York.”” Landoil Resources, supra.,
918 F2d at 1043 (quoting Weinstein, Korn & Miller, New York Civil Practice, 7 301.16, at

3-32).

In the current action, Defendant THE CEDARWOOD COMPANIES INC., solicits a

business in New York through its website https://www.cedarwoodcompanies.com/.
Additionally, Defendant THE CEDARWOOD COMPANIES INC.is actively engaged in the
business of management of 6 retail locations in New York, as illustrated on its website under
leasing of retail locations on behalf of Advance Auto Parts and Walmart Inc. As Defendant
THE CEDARWOOD COMPANIES INC., has yet to answer the Complaint, Plaintiff at this

time is unaware as to the extent of Defendant’s connection to New York.

Even if, for argument’s sake, the defendant’s contacts with New York did not rise to
the “doing business” standard required by CPLR §301, it certainly did meet or exceed the
lesser “transacting business” standard. New York State’s long-arm jurisdiction statute,

CPLR § 302, provides inter alia,

(a) Acts which are the basis of jurisdiction. As to a cause of action arising from any
of the acts enumerated in this section, a court may exercise personal jurisdiction over
any non-domiciliary, or his executor or administrator, who in person or through an
agent:

1. transacts any business within the state or contracts anywhere to supply goods or
services in the state; or...

3. commits a tortious act without the state causing injury to person or property
within the state, except as to a cause of action for defamation of character arising
from the act, if he

G) regularly does or solicits business, or engages in any other persistent course of
conduct, or derives substantial revenue from goods used or consumed or services
rendered, in the state, or

(it) expects or should reasonable expect the act to have consequences in the state
and derives substantial revenue from interstate or international commerce; or...
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Subdivision [a][1] requires that the defendant merely “transact’ business in the state, so long
as there is a direct relationship between the cause of action and the in-state conduct. Fort
Knox Music, Inc. v. Baptiste, 203 F3f193, 196 (2d Cir 2000); Credit Lyonnais Securities
(USA), Inc. v. Alcantara, 183 F3d 151, 153 (2d Cir 1999). The “transacts business” standard
under CPLR 302[a][1] requires a considerably lesser showing of contacts with New York
that the “doing business” standard of CPLR 301. Bialek v. Racal-Milgo, Inc., 545 FSupp 25
(SDNY 1982); Ross v. Colorado Outbound School, Inc. supra. However, as Defendant THE
CEDARWOOD COMPANIES INC., has yet to answer the Complaint, Plaintiff at this time

is unaware as to the extent of Defendant’s connection to New York.

However, should Plaintiff establish personal jurisdiction Defendant through CPLR §

301 or § 302, then venue would also be proper under 28 USC 1391(c).

B. Venue is Proper in the Eastern District of New York
Venue is proper in the Eastern District of New York under 28 USC 1391(c). While

28 USC 1391(a) provides:

A civil action may be brought in-(1) a judicial district in which any defendant
resides, if all defendants are residents of the State in which the district is located; (2) a
judicial district in which a substantial part of the events or omissions giving rise to the claim
occurred, or a substantial part of property that is the subject of the action is situated, or (3) if
there is no district in which an action may otherwise be brought as provided in this section,
any judicial district in which any defendant is subject to the court’s personal jurisdiction
with respect to such action.

28 USC 1391(c) states that, “[flor purposes of venue under this chapter, a defendant
that is a corporation shall be deemed to reside in any judicial district in which it is subject to
personal jurisdiction at the time the action is commenced.”

Accordingly, for a corporate defendant such as THE CEDARWOOD COMPANIES,
1391(c) equates jurisdiction with venue. PDK Labs Inc., v. Proactive Labs, Inc. 325 FSupp2d
176, 182 (EDNY 2004); Cicalo v. Harrah’s Operating Company, 2008 WL 1847665 (SDNY

2008). Since Defendant THE CEDARWOOD COMPANIES is subject to the personal

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jurisdiction of New York under CPLR § 301 and/or § 302, venue in the within Court is
appropriate.

In Cicalo v. Harrah’s Operating Company, 2008 WL 116277 (SDNY 2008) the
Plaintiff's venue claim depended on the personal jurisdiction of the Defendant which had not
been determined at the time of Defendant’s motion to dismiss/transfer venue. Accordingly,
the Court denied Defendant’s motion without prejudice. In the same regard, the Court should
allow the parties to proceed with discovery in the current action.

CONCLUSION

For the foregoing reasons, Plaintiff respectfully requests that the Order to Show
Cause be denied in its entirety.

Dated: New York, New York
July 11, 2023

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/
ErgA. rows Esq.
Attorneys/for Plaintiff
40 Wall Street I 40" Floor
New York, New York 10005

(212) 947-4999
To: (See Affidavit attached) Our File No.: PLTY-5111-E

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STATE OF NEW YORK)
COUNTY OF NEW YORK) ss:

AnaMaria Suarez, being duly sworn, deposes and says:

That I am not a party to the within action, am over 18 years of age and reside in Bronx County,
New York.

That on July 11, 2023, deponent served the within, Memorandum of Law in Opposition to
Order to Show Cause to Transfer Venue or Dismiss Action upon the attorneys/individuals
listed below, at his/her/its addresses which were so designated by said attorneys for said
purpose, by depositing a true copy of same enclosed in a post-paid properly addressed wrapper
in a post office under the exclusive care and custody of the United States Postal Service within
the State of New York:

TO:

The Cedarwood Companies Inc.
3200 W. Market St., Suite 200,
Fairlawn, OH 44333

bell paen

/ AfaMaria Suarez

Sworn to before me this
11% day of July 2023

Notary Public

PATRICIAA HUTSON
NOTARY PUBLIC, STATE OF NEW ve
Registration No. 01HU608579

ty
Qualified in Bronx Coun
Commission Expires January 6, 2027

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Docket No.: 1:23:cv:04841

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

ANGELA DIELE,
Plaintiff(s),

- against -

THE CEDARWOOD COMPANIES INC.,
Defendant(s).

Plaintiff's Memorandum of Law in Opposition to Order to Show Cause
to Transfer Venue or Dismiss Action

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(212) 947-4999
Our File No.: PLTY-5111-E

To: The Cedarwood Companies Inc. 3200 W. Market Street, Suite 200 Fairlawn, OH 44333
Defendant

Service of a copy of the within **** is hereby admitted.
Dated: ****

PLEASE TAKE NOTICE:

That the within is a (certified) true copy of a **** entered in the office of the clerk of the within

UO named Court on ****,
Notice of
Entry
g That an Order of which the within is a true copy will be presented for settlement to the Hon. ****,
, one of the judges of the within named Court, at ****, on ****, at ****,
Notice of
Settlement

Dated: New York, New York
July 11, 2023

CAMACHO MAURO, LLP
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